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                                   6                               UNITED STATES DISTRICT COURT

                                   7
                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                  10   MASTEROBJECTS, INC.,
                                  11                 Plaintiff,                          No. C 20-08103 WHA

                                  12          v.
Northern District of California
 United States District Court




                                  13   AMAZON.COM, INC,                                  ORDER DENYING EX PARTE
                                                                                         REQUEST FOR RELIEF
                                  14                 Defendant.

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                                  17        Plaintiff’s emergency ex parte motion to delay the deposition of Karl Kenna is DENIED.

                                  18        SO ORDERED.

                                  19

                                  20   Dated: January 26, 2022.

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                                  22                                                       /s/ Harold McElhinny
                                                                                           Harold J. McElhinny
                                  23                                                       SPECIAL MASTER
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